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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 07-20398-CR-UNGARO


 UNITED STATES OF AMERICA,
      Petitioner,
 v.

 MABEL DIAZ AND ABNER DIAZ,
       Respondent.
 __________________________________________/

                  ORDER AFFIRMING MAGISTRATE JUDGE’S REPORT

        THIS CAUSE is before the Court on Mabel and Abner Diaz’s Motion to Dismiss Counts

 45-46, Motion to Dismiss Counts 34 and 391 Based on Multiplicity, and Motion to Dismiss

 Counts 2-33 Based on Multiplicity. See (D.E. 248, 249, 250.) The matter was referred to

 Magistrate Judge John O’ Sullivan who on March 12, 2008 issued a Report recommending the

 following:(1) Mabel and Abner Diaz’s Motion to Dismiss Counts 34 or 39 Based on Multiplicity

 be denied as moot: (2) Mabel and Abner Diaz’s Motion to Dismiss Counts 45-56 and Mabel and

 Abner Diaz’s Motion to Dismiss Counts 2-33 Based on Multiplicity be denied. The Court has

 considered Petitioner’s objection to the Magistrate Judge’s Report filed with the Court on March

 21, 2008, but agrees with the analysis upon which the Report is based.

        Accordingly, having conducted a de novo review of the record and being otherwise fully

 advised in the premises, it is hereby

        ORDERED AND ADJUDGED that the Magistrate Judge’s Report is RATIFIED,

 AFFIRMED AND ADOPTED.

        1
          Magistrate Judge O’Sullivan noted that the title of Defendants’ motion refers to Count
 35, but the Defendants’ arguments are directed to Count 39. This Court agrees with the
 Magistrate Judge’s interpretation of Defendants’ arguments.
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        DONE AND ORDERED in Chambers at Miami, Florida, this 21st day of May, 2008.


                                               _______________________________
                                               URSULA UNGARO
                                               UNITED STATES DISTRICT JUDGE
 copies provided:
 counsel of record




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